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      In The United States Court of Federal Claims
                                             No. 09-865C

                                      (Filed: April 15, 2011)
                                            __________

 LAKESHORE ENGINEERING SERVICES,
 INC.,

                                Plaintiff,

                         v.

 THE UNITED STATES,

                               Defendant.

                                              _________

                                               ORDER
                                              _________

        On March 17, 2011, plaintiff filed a motion to amend its complaint under RCFC 15 to
add a claim for breach of implied warranty and more accurately reflect the damages sought.

        On April 8, 2011, defendant opposed the motion, contending that this court lacks
jurisdiction over the breach of implied warranty claim and amended damages figure because they
were not before the contracting officer. Defendant’s objections are not well taken. Defendant
inexplicably cites only cases preceding Scott Timber Co. v. United States, 333 F.3d 1358 (Fed.
Cir. 2003), in which the Federal Circuit held that this court has jurisdiction over CDA claims that
“arise from the same operative facts, claim essentially the same relief, and merely assert different
legal theories for that recovery,” id. at 1365. Plaintiff’s breach of implied warranty claim and
amended damages figure arise from the same operative facts as its breach of contract claim.
Defendant also contends that it is unable to conduct necessary fact discovery on plaintiff’s
breach of implied warranty claim and revised damages before the April 18, 2011, close of fact
discovery. That situation, however, can be remedied. Accordingly:

       1.       Plaintiff’s motion to amend its complaint is hereby GRANTED;

       2.       On or before July 18, 2011, fact discovery shall be completed;

       3.       On or before August 5, 2011, the parties shall exchange expert
                reports;
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4.       On or before October 11, 2011, expert discovery shall be
         completed; and

5.       On or before October 28, 2011, the parties shall file a joint status
         report indicating how this case should proceed with, if appropriate,
         a proposed schedule for the filing of dispositive motions, or
         alternatively, for proceeding to trial.

No further enlargements of these deadlines will be granted.

IT IS SO ORDERED.



                                               s/ Francis M. Allegra
                                               Francis M. Allegra
                                               Judge




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